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                                                                   JUDGE RICHARD A. JONES
 1
 2
 3                                  UNITED STATES DISTRICT COURT
 4                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 5
     UNITED STATES OF AMERICA,                   )   NO. CR18-315 RAJ
 6                                               )
                      Plaintiff,                 )
 7                                               )   THE PARTIES’ JOINT PROPOSED
                vs.                              )   REDACTIONS TO THE SEALED
 8                                               )   ORDERS (DKT. ## 314, 321)
     GIZACHEW WONDIE,                            )
 9                                               )
                      Defendant.                 )
10                                               )

11          On December 2, 2021, the Court issued an order grating in part Mr. Wondie’s
12   motion to unseal. Dkt. 334. Specifically, the Court stated:
13          That said, balancing the interests, the Court finds that some aspects of
            KCSO’s investigation may remain under seal. These aspects have
14          consistently remained confidential, and any disclosure of such
15          information would have either been tangential or inadvertent. In this
            category are the name and other identifying characteristics of the murder
16          victim and the name of an organization linked to the murder. See, e.g.,
            Dkt. # 314 at 7:11, 7:21. Such information may remain under seal. The
17          Court finds that this balances the need for public access and the need to
18          preserve the integrity of an ongoing murder investigation.

19   Dkt. 334, p. 3-4. The Court stated, “[c]onsistent with this order, the parties must submit
20   their joint proposed redactions to the Sealed Orders (Dkt. ## 314, 321) within 14 days
21   of this order.” Id.

22          The parties agree that the Court’s order as to whether probable cause existed to

23   arrest Mr. Wondie should be unsealed almost entirely with the exception of a single
     redaction. See Exhibit A (Filed Under Seal). With respect to the Court’s Franks order,
24
25
26     THE PARTIES JOINT PROPOSED
                                                                FEDERAL PUBLIC DEFENDER
                                                                   1601 Fifth Avenue, Suite 700
       REDACTIONS TO THE SEALED ORDERS - 1                           Seattle, Washington 98101
       (U.S. v. Gizachew Wondie; CR18-315RAJ)                                   (206) 553-1100
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     Dkt. 314, the parties agree that the Court should redact any reference to the victim’s
 1
     name and any reference to Group A. Attached to this proposal is a copy of the Franks
 2
     order that contains these proposed redactions. See Exhibit A (Filed Under Seal).
 3
            The parties cannot come to an agreement with respect to additional redactions.
 4
     The government requests that the date of the homicide and the caliber and number of
 5
     rounds of the ammunition at issue be redacted from the Franks order because (1) those
 6   redactions are consistent with the Court’s inclusion of the victim’s name “and other
 7   identifying characteristics of the murder victim” as within the “category” of
 8   confidential information; (2) these details effectively identify the particular homicide,
 9   which both enables the identification of the victim and thwarts the purpose of

10   permitting the redactions that the Court authorized; and (3) these details are wholly

11   irrelevant to the Court’s reasoning and no purpose is served by making these public.
     Attached to this proposal is a copy of the Franks order that includes these redactions.
12
     See Exhibit B (Filed Under Seal). The government’s proposed additional redactions are
13
     at 3:9, 3:11, 4:11, 4:13, 7:24, 9:27.
14
            The defense does not agree with the government’s proposed additional
15
     redactions for the same reasons outlined in the defense’s motion on this matter. Dkt.
16
     329 (Reply to Motion to Unseal).
17          DATED this 14th day of December, 2021.
18
                                                Respectfully submitted,
19
                                                s/ Mohammad Ali Hamoudi
20
                                                s/ Sara Brin
21                                              Assistant Federal Public Defenders
                                                Attorneys for Gizachew Wondie
22
23                                              s/ James D. Oesterle
                                                s/ Erin H. Becker
24                                              Assistant United States Attorneys
25
26     THE PARTIES JOINT PROPOSED
                                                                 FEDERAL PUBLIC DEFENDER
                                                                    1601 Fifth Avenue, Suite 700
       REDACTIONS TO THE SEALED ORDERS - 2                            Seattle, Washington 98101
       (U.S. v. Gizachew Wondie; CR18-315RAJ)                                    (206) 553-1100
